     Case 1:23-cv-01921 Document 1 Filed 03/14/23 Page 1 of 15 PageID #: 1




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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK

  MATTHEW SCHAEFFER, Individually and                 Case No:
  on behalf of all others similarly situated,
                                                      CLASS ACTION COMPLAINT FOR
          Plaintiff,                                  VIOLATIONS OF THE FEDERAL
                                                      SECURITIES LAWS
          v.
                                                      JURY TRIAL DEMANDED
  SIGNATURE BANK, JOSEPH DEPAOLO,
  STEPHEN WYREMSKI, and ERIC HOWELL,

          Defendants.



       Plaintiff Matthew Schaeffer (“Plaintiff”), individually and on behalf of all other persons

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendants (defined below), alleges the following based upon personal knowledge as to Plaintiff

and Plaintiff’s own acts, and information and belief as to all other matters, based upon, among

other things, the investigation conducted by and through his attorneys, which included, among

other things, a review of the Defendants’ public documents, public filings, wire and press releases

published by and regarding Signature Bank (“Signature Bank” or the “Company”), and

information readily obtainable on the Internet. Plaintiff believes that substantial evidentiary

support will exist for the allegations set forth herein after a reasonable opportunity for discovery.


                                                 1
      Case 1:23-cv-01921 Document 1 Filed 03/14/23 Page 2 of 15 PageID #: 2




                                  NATURE OF THE ACTION

       1.      This is a class action on behalf of persons or entities who purchased or otherwise
acquired publicly traded Signature Bank securities between March 2, 2023 and March 12, 2023,
inclusive (the “Class Period”), including those who purchase the Signature Bank call options
and/or sold put options during the Class Period. Plaintiff seeks to recover compensable damages
caused by Defendant’s violations of the federal securities laws under the Securities Exchange Act
of 1934 (the “Exchange Act”).
                                 JURISDICTION AND VENUE

       2.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       3.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C. §78aa).

       4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged misstatements entered and the

subsequent damages took place in this judicial district.

       5.      In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mails, interstate telephone communications and the

facilities of the national securities exchange.

                                             PARTIES

       6.      Plaintiff Matthew Schaeffer, as set forth in the accompanying certification,

incorporated by reference herein, purchased Signature Bank securities during the Class Period

and was economically damaged thereby.



                                                  2
     Case 1:23-cv-01921 Document 1 Filed 03/14/23 Page 3 of 15 PageID #: 3




       7.      Defendant Signature Bank purported to be a “New York-based full-service
commercial bank with 40 private client offices located throughout the metropolitan New York
area, as well as those in Connecticut, California, Nevada and North Carolina. Through its single-
point-of-contact approach, the Bank’s private client banking teams serves the needs of privately
owned businesses, their owners and senior managers. Through our Signature Financial subsidiary,
a specialty finance company based in Melville, Long Island, we offer a variety of financing and
leasing products, including equipment, transportation, commercial marine, sustainable energy,
and national franchise financing and/or leasing. Signature Financial’s clients are located
throughout the United States.”

       8.      Signature Bank was incorporated in New York and its head office was located at

565 Fifth Avenue, New York, N.Y. Signature Bank common stock trades on the NASDAQ

Exchange (“NASDAQ”) under the ticker symbol “SBNY”, and its common stock traded under

the ticker symbol SBNYP.

       9.      Defendant Joseph DePaolo (“DePaolo”) served as the Company’s Chief Executive

Officer from 2001 until March 12, 2023.

       10.     Defendant Stephen Wyremski (“Wyremski”) served as the Company’s Chief

Financial Officer and Senior Vice President from June 2021 until March 12, 2023.

       11.     Defendant Eric Howell (“Howell”) served as the Company’s President and Chief

Operating Officer from June 2021 until March 12, 2023.

       12.     Defendants DePaolo, Howell, and Wyremski are collectively referred to herein as

the “Individual Defendants.”

       13.     Each of the Individual Defendants:

               (a)    directly participated in the management of the Company;

               (b)    was directly involved in the day-to-day operations of the Company at the

                      highest levels;

                                               3
     Case 1:23-cv-01921 Document 1 Filed 03/14/23 Page 4 of 15 PageID #: 4




               (c)    was privy to confidential proprietary information concerning the Company

                      and its business and operations;

               (d)    was directly or indirectly involved in drafting, producing, reviewing and/or

                      disseminating the false and misleading statements and information alleged

                      herein;

               (e)    was directly or indirectly involved in the oversight or implementation of

                      the Company’s internal controls;

               (f)    was aware of or recklessly disregarded the fact that the false and

                      misleading statements were being issued concerning the Company; and/or

               (g)    approved or ratified these statements in violation of the federal securities

                      laws.

       14.     Signature Bank is liable for the acts of the Individual Defendants and its employees

under the doctrine of respondeat superior and common law principles of agency because all of

the wrongful acts complained of herein were carried out within the scope of their employment.

       15.     The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to the Company under respondeat superior and agency principles.

       16.     Signature Bank and the Individual Defendants are collectively referred to herein

as “Defendants.”

                                SUBSTANTIVE ALLEGATIONS
                         Materially False and Misleading Statements
                              Issued During the Class Period

       17.     On March 2, 2023, the Company issued a press release linking to a presentation

that gave a Mid-Quarter Financial Update (the “March 2 Update”). The March 2 Update was

uploaded to the Company’s website. In pertinent part, this presentation stated that “[t]he average



                                                4
      Case 1:23-cv-01921 Document 1 Filed 03/14/23 Page 5 of 15 PageID #: 5




balance quarter-to-date is $88.79 billion, which is higher than the December 31, 2022 balance of

$88.59 billion, and lower than the fourth quarter 2022 quarter-to-date average balance of $98.6

billion.”

        18.       Further, the presentation stated that “[d]eposits have increased $682 million thus

far this quarter, excluding digital asset client related balances” and “[t]he decrease in deposit

balances this quarter has been driven by the deliberate decline in digital asset client related deposits

of $1.51 billion, as the Bank continues to reduce the size of deposit relationships in this space.”

        19.       Then, on March 9, 2023, the Company issued a Press Release entitled “Signature

Bank Issues Updated Financial Figures as of March 8, 2023; Reiterates Strong Financial Position

and Limited Digital-Asset Related Deposit Balances in Wake of Industry Developments.” (the

“March 9 Update”). The March 9 Update was intended to calm investors and depositors in the

wake of chaos in the banking sector, such as the collapse of Silicon Valley Bank.

        20.       The March 9 Update overstated the Company’s market position, given that just a

few days later, it was shut down by the New York Department of Financial Services (“DFS”). In

pertinent part, the March 9 Update stated that Signature Bank had the following attributes:

              •   “A proven, stable commercial banking business model with in excess of $100
                  billion in well-diversified assets across nine national business lines and nearly 130
                  commercial banking teams spanning its metropolitan New York area and West
                  Coast footprint;”
              •   “A diversified deposit mix, with more than 80 percent of deposits coming from
                  middle market businesses, such as law firms, accounting practices, healthcare
                  companies, manufacturing companies and real estate management firms;”
              •   “A high level of capital as evidenced by a common equity tier 1 risk-based capital
                  ratio of 10.42 percent, which is well in excess of regulatory requirements, as of
                  year-end 2022;”




                                                   5
      Case 1:23-cv-01921 Document 1 Filed 03/14/23 Page 6 of 15 PageID #: 6




           (Emphasis added.)
           21.    Defendant DePaolo was also quoted in the March 9 Update. In pertinent part, he
 stated:
           “We want to make it clear again that Signature Bank is a well-diversified, full-service
           commercial bank with more than two decades of history and solid performance serving
           middle market businesses. We have built a strong reputation serving commercial clients
           through nine business lines and reached in excess of $100 billion in assets by
           continually executing our single-point-of-contact, relationship-based model where
           banking teams are capable of meeting all client needs,”

           “As a reminder, Signature Bank does not invest in, does not trade, does not hold, does not
           custody and does not lend against or make loans collateralized by digital assets,”.

           22.    Defendant Howell was also quoted in the March 9 Update. In pertinent part, he
stated:
           “We have repeatedly communicated that our relationships in the digital asset space are
           limited to U.S. dollar deposits only, and we remain fully committed to executing on our
           plan to deliberately reduce these deposits further. Since we opened our doors, we have
           been a ‘deposit-first’ institution and have always been committed to our depositors’ safety,
           first and foremost. As shown by our current metrics, we intentionally maintain a high
           level of capital, strong liquidity profile and solid earnings, which continues to
           differentiate us from competitors, especially during challenging times,”
           (Emphasis added).
           23.    The statements contained in ¶¶ 17-22 were materially false and/or misleading
because they misrepresented and failed to disclose the following adverse facts pertaining to the
Company’s business, operations, and prospects, which were known to Defendants or recklessly
disregarded by them. Specifically, Defendants made false and/or misleading statements and/or
failed to disclose that: (1) Signature Bank did not have the strong fundamentals that it represented
itself as having in the days immediately prior to its takeover, or otherwise took action that left it
susceptible to a takeover by the New York Department of Financial Services (“DFS”); (2) as a
result, it became a target for regulatory action by the DFS, and (3) as a result, Defendants’ public
statements were materially false and/or misleading at all relevant times.
                                THE TRUTH BEGINS TO EMERGE




                                                    6
     Case 1:23-cv-01921 Document 1 Filed 03/14/23 Page 7 of 15 PageID #: 7




          24.   On Sunday March 12, 2023, the DFS announced that, in order to protect depositors
and pursuant to Section 606 of New York Banking Law, DFS had taken possession of Signature
Bank. DFS further stated that it was “in close contact with all regulated entities in light of market
events, monitoring market trends, and collaborating closely with other state and federal regulators
to protect consumers, ensure the health of the entities we regulate, and preserve the stability of
the global financial system.”
       25.      Section 606 of New York Banking Law states, in pertinent part, “[t]he
Superintendent may, in his discretion, forthwith take possession of the business and property of
any banking organization whenever it shall appear that such banking organization:

       (a) has violated any law;
       (b) is conducting its business in an unauthorized or unsafe manner;
       (c) is in an unsound or unsafe condition to transact its business;
       (d) Cannot with safety and expediency continue business;
       (e) Has an impairment of its capital; or, in the case of a mutual savings and loan
       association or credit union, has assets insufficient to pay its debts and the amount due
       members upon their shares;
       (f) Has suspended payment of its obligations; or, in the case of a mutual savings and loan
       association, has failed for sixty days after a withdrawal application has been filed with it
       by any shareholder to pay such withdrawal application in full;
       (g) Has neglected or refused to comply with the terms of a duly issued order of the
       superintendent;
        (h) Has refused, upon proper demand, to submit its records and affairs for inspection to
       an examiner of the department;
       (i) Has refused to be examined upon oath regarding its affairs; (j) Has neglected, refused
       or failed to take or continue proceedings for voluntary liquidation in accordance with any
       of the provisions of this chapter.”
        (Emphasis added).
       26.      As a result of the specific circumstances in which the DFS Superintendent may, in
his or her discretion, take possession of a bank, the March 2 and March 9 Updates did not provide
investors with a full picture of the risks facing Signature Bank, or hint that it might be taken over
by DFS.
       27.      In a Joint Statement on March 12, 2023 (the “Joint Statement”), Federal Reserve
Chair Jerome (“Jay”) Powell, Treasury Secretary Janet Yellen, and Federal Deposit Insurance




                                                 7
     Case 1:23-cv-01921 Document 1 Filed 03/14/23 Page 8 of 15 PageID #: 8




Corporation (“FDIC”) Chair Martin Gruenberg, followed up on DFS’s announcement. In
pertinent part, the Joint Statement provided the following:

       “[In addition to providing a systemic risk exception for SBV Financial Group], [w]e are
       also announcing a similar systemic risk exception for Signature Bank, New York, New
       York, which was closed today by its state chartering authority. All depositors of this
       institution will be made whole. As with the resolution of Silicon Valley Bank, no losses
       will be borne by the taxpayer. Shareholders and certain unsecured debtholders will not
       be protected. Senior management has also been removed. Any losses to the Deposit
       Insurance Fund to support uninsured depositors will be recovered by a special
       assessment on banks, as required by law.”

       (Emphasis added).

       28.     On March 12, 2023, trading in the Company’s shares were halted and remain

halted as of the filing of this action, essentially rendering the Company’s shares illiquid and

valueless- given the bank’s failure.

       29.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s common shares, Plaintiff and the other Class members have

suffered significant losses and damages.

                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

       30.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other than defendants

who acquired Signature Bank securities publicly traded on the NASDAQ during the Class Period,

and who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the

officers and directors of the Company, members of the Individual Defendants’ immediate families

and their legal representatives, heirs, successors or assigns and any entity in which Defendants

have or had a controlling interest.

       31.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, the Company’s securities were actively traded on the


                                                8
      Case 1:23-cv-01921 Document 1 Filed 03/14/23 Page 9 of 15 PageID #: 9




NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and can

be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds, if

not thousands of members in the proposed Class.

       32.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       33.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

       34.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

       •       whether the Exchange Act was violated by Defendants’ acts as alleged herein;

       •       whether statements made by Defendants to the investing public during the Class

               Period misrepresented material facts about the business and financial condition of

               the Company;

       •       whether Defendants’ public statements to the investing public during the Class

               Period omitted material facts necessary to make the statements made, in light of

               the circumstances under which they were made, not misleading;

       •       whether the Defendants caused the Company to issue false and misleading filings

               during the Class Period;

       •       whether Defendants acted knowingly or recklessly in issuing false filings;




                                                  9
    Case 1:23-cv-01921 Document 1 Filed 03/14/23 Page 10 of 15 PageID #: 10




          •     whether the prices of the Company’s securities during the Class Period were

                artificially inflated because of the Defendants’ conduct complained of herein; and

          •     whether the members of the Class have sustained damages and, if so, what is the

                proper measure of damages.

          35.   A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually redress

the wrongs done to them. There will be no difficulty in the management of this action as a class

action.

          36.   Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

          •     the Company’s securities met the requirements for listing, and were listed and

                actively traded on the NASDAQ, an efficient market;

          •     as a public issuer, the Company filed public reports;

          •     the Company communicated with public investors via established market

                communication mechanisms, including through the regular dissemination of press

                releases via major newswire services and through other wide-ranging public

                disclosures, such as communications with the financial press and other similar

                reporting services;

          •     the Company’s securities were liquid and traded with moderate to heavy volume

                during the Class Period; and




                                                10
    Case 1:23-cv-01921 Document 1 Filed 03/14/23 Page 11 of 15 PageID #: 11




        •       the Company was followed by a number of securities analysts employed by major

                brokerage firms who wrote reports that were widely distributed and publicly

                available.

        37.     Based on the foregoing, the market for the Company securities promptly digested

current information regarding the Company from all publicly available sources and reflected such

information in the prices of the common units, and Plaintiff and the members of the Class are

entitled to a presumption of reliance upon the integrity of the market.

        38.     Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted material information in their

Class Period statements in violation of a duty to disclose such information as detailed above.

                                            COUNT I
            For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                                     Against All Defendants

        39.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        40.     This Count asserted against Defendants is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        41.      During the Class Period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false statements specified above, which they knew or

deliberately disregarded were misleading in that they contained misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

        42.     Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:



                                                 11
    Case 1:23-cv-01921 Document 1 Filed 03/14/23 Page 12 of 15 PageID #: 12




                •      employed devices, schemes and artifices to defraud;

                •      made untrue statements of material facts or omitted to state material facts

                       necessary in order to make the statements made, in light of the

                       circumstances under which they were made, not misleading; or

                •      engaged in acts, practices and a course of business that operated as a fraud

                       or deceit upon plaintiff and others similarly situated in connection with their

                       purchases of the Company’s securities during the Class Period.

          43.   Defendants acted with scienter in that they knew that the public documents and

statements issued or disseminated in the name of the Company were materially false and

misleading; knew that such statements or documents would be issued or disseminated to the

investing public; and knowingly and substantially participated, or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the securities laws. These

defendants by virtue of their receipt of information reflecting the true facts of the Company, their

control over, and/or receipt and/or modification of the Company’s allegedly materially misleading

statements, and/or their associations with the Company which made them privy to confidential

proprietary information concerning the Company, participated in the fraudulent scheme alleged

herein.

          44.   Individual Defendants, who are or were senior executives and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the material

statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

disclose the true facts in the statements made by them or other Company’s personnel to members

of the investing public, including Plaintiff and the Class.



                                                12
       Case 1:23-cv-01921 Document 1 Filed 03/14/23 Page 13 of 15 PageID #: 13




         45.   As a result of the foregoing, the market price of the Company’s securities was

artificially inflated during the Class Period. In ignorance of the falsity of Defendants’ statements,

Plaintiff and the other members of the Class relied on the statements described above and/or the

integrity of the market price of the Company’s securities during the Class Period in purchasing

the Company’s securities at prices that were artificially inflated as a result of Defendants’ false

and misleading statements.

         46.   Had Plaintiff and the other members of the Class been aware that the market price

of the Company’s securities had been artificially and falsely inflated by Defendants’ misleading

statements and by the material adverse information which Defendants did not disclose, they would

not have purchased the Company’s securities at the artificially inflated prices that they did, or at

all.

         47.    As a result of the wrongful conduct alleged herein, Plaintiff and other members of

the Class have suffered damages in an amount to be established at trial.

         48.   By reason of the foregoing, Defendants have violated Section 10(b) of the 1934

Act and Rule 10b-5 promulgated thereunder and are liable to the plaintiff and the other members

of the Class for substantial damages which they suffered in connection with their purchase of the

Company’s securities during the Class Period.

                                            COUNT II
                         Violations of Section 20(a) of the Exchange Act
                               Against the Individual Defendants

         49.   Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

         50.   During the Class Period, the Individual Defendants participated in the operation

and management of the Company, and conducted and participated, directly and indirectly, in the



                                                13
    Case 1:23-cv-01921 Document 1 Filed 03/14/23 Page 14 of 15 PageID #: 14




conduct of the Company’s business affairs. Because of their senior positions, they knew the

adverse non-public information about the Company’s misstatement of revenue and profit and false

financial statements.

        51.     As officers of a public business, the Individual Defendants had a duty to

disseminate accurate and truthful information with respect to the Company’s financial condition

and results of operations, and to correct promptly any public statements issued by the Company

which had become materially false or misleading.

        52.     Because of their positions of control and authority as senior executives and/or

directors, the Individual Defendants were able to, and did, control the contents of the various

reports, press releases and public filings which the Company disseminated in the marketplace

during the Class Period concerning the Company’s results of operations. Throughout the Class

Period, the Individual Defendants exercised their power and authority to cause the Company to

engage in the wrongful acts complained of herein. The Individual Defendants therefore, were

“controlling persons” of the Company within the meaning of Section 20(a) of the Exchange Act.

In this capacity, they participated in the unlawful conduct alleged which artificially inflated the

market price of Company securities.

        53.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by the Company.

                                    PRAYER FOR RELIEF

        WHEREFORE, plaintiff, on behalf of himself and the Class, prays for judgment and

relief as follows:




                                               14
    Case 1:23-cv-01921 Document 1 Filed 03/14/23 Page 15 of 15 PageID #: 15




       (a)     declaring this action to be a proper class action, designating plaintiff as Lead

Plaintiff and certifying plaintiff as a class representative under Rule 23 of the Federal Rules of

Civil Procedure and designating plaintiff’s counsel as Lead Counsel;

       (b)     awarding damages in favor of plaintiff and the other Class members against all

defendants, jointly and severally, together with interest thereon;

       (c)     awarding plaintiff and the Class reasonable costs and expenses incurred in this

action, including counsel fees and expert fees; and

       (d)     awarding plaintiff and other members of the Class such other and further relief as

the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.




Dated: 3/14/2023                              THE ROSEN LAW FIRM, P.A.


                                               /s/ Phillip Kim
                                                              __________
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                                                15
